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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

vs. CASE NO. 3:23-cr-180-HES-SJH
NOAH MICHAEL URBAN

ORDER

Before the Court is the Defendant's Unopposed Motion to Continue Trial
(Doc. 59), filed on March 10, 2025. Defendant represents that the Government
has no objection to this continuance. Upon consideration, this Court finds: (1)
the Defendant has shown satisfactory grounds for such continuance; (2)
accordingly such continuance will serve the interests of justice to allow defense
counsel to investigate this case and prepare for the trial; (3) the continuance
requested by the Defendant is advantageous to both Defendant and the
government; and (4) such continuances are in the interest of justice and
excludable under the Speedy Trial Act; and (5) will allow counsel time to
coordinate the details of related cases in other jurisdictions to resolve the cases
globally through a plea agreement.

Accordingly it is ORDERED:

1. The Defendant's Unopposed Motion to Continue Trial (Doc. 59) is

GRANTED;
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2. The Defendant herein is rescheduled for status conference on
Wednesday, May 21, 2025 at 1:30 p.m., and jury trial set for trial term
commencing on Monday, June 2, 2025 at 9:30 a.m., in Courtroom 10C, Tenth
Floor, United States Courthouse, 300 North Hogan Street, Jacksonville,
Florida;

DONE AND ORDERED at Jacksonville, Florida, this Lok day of
March, 2025.

Jf ]

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HARVEY E. SEAMEESINGER

United States District Judge

Copy to: John Cannizzaro, Esq.
Kathryn E Sheldon, Esq.
U.S. Marshal
U.S. Probation
